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         EXHIBIT 46
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                                       Before the
                                 U.S. Copyright Office
                                  Library of Congress
                                 Washington, D.C. 20559

In re:                                      )
                                            )
Standard Technical Measures                 )   Docket No. 2022–2
and Section 512                             )
                                            )




                                     Comments of Pex
               on the Development and Use of Standard Technical Measures
                for the Protection and Identification of Copyrighted Works




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                                                          May 27, 2022
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I.       Overview

        The time has come to fix section 512(i) of the Copyright Act, as well as to recognize web
crawling and content fingerprinting technologies as standard technical measures in light of their
near ubiquitousness. Indeed, both technologies meet the statutory criteria for recognition as STMs,
with the only holdup being no process by which to call the question. As the Copyright Office has
noted, “web crawling technology is widely used across industries, including by many OSPs to
locate and index content on the internet. Thus, it is unclear what prevents such technology being
designated an STM (other than lack of any group or forum for officially voting to recognize web
crawlers as STMs).” 1 Fingerprinting, too, “has been adopted and employed by OSPs and
rightsowners within various industries.” 2

        The reasons crawling, fingerprinting, and other technical measures have not been
recognized as STMs despite their wide availability are threefold: 1) OSPs have little incentive to
support recognition of STMs because overbroad judicial application of the section 512 liability
limitations enables OSPs to safely profit from user engagement with copyright-infringing content;
2) section 512(i)(2)’s criteria for qualifying technical measures as STMs are ambiguous; and 3)
section 512(i)(2) does not designate a decisionmaker or create an action-forcing mechanism.

        To address the lack of OSP incentive, Congress should: a) clarify the red flag knowledge
and willful blindness standards for determining when OSPs must act to curb infringement and
whether they qualify for the section 512 liability limitations; b) create a notice and staydown
requirement; and c) condition OSPs’ liability limitations on taking reasonable steps to prevent
infringing dissemination of copyrighted works in the first place. To address the statutory
ambiguity, Congress should amend section 512(i)(2) to clarify: a) the standards process by which
a technical measure must have been developed to qualify as an STM; b) the requirement that the
technical measure must be available on reasonable and non-discriminatory terms; and c) the
requirement that the technical measure not impose substantial costs or burdens on OSPs. To
address section 512(i)’s lack of a specified decisionmaker or an action-forcing mechanism,
Congress should supplement the current voluntary process by authorizing the Copyright Office to
designate technical measures as STMs in response to petitions.

         A.      Section 512(i) Has Not Accomplished Congress’s Goal of Promoting Standard
                 Technical Measures for Identifying and Protecting Copyrighted Works

        In structuring online service providers’ liability limitations for copyright infringement by
their users, Congress meant the standard technical measures provisions of section 512 to be a
lynchpin. 3 Indeed, with section 512, Congress sought to “preserve[ ] … strong incentives for

     1
      U.S. COPYRIGHT OFFICE, SECTION 512 OF TITLE 17: A REPORT OF THE REGISTER OF COPYRIGHTS 177 n.946
(2020) (Section 512 Report).
    2
      Id. at 177.
    3
      See Letter from Sens. Thom Tillis and Patrick Leahy to Shira Perlmutter, Register of Copyrights, U.S.
Copyright Office 1 (June 24, 2021) (stating that “[w]hen Congress set up the safe harbors for OSPs over twenty
years ago, it envisioned industry working together to identify standard technical measures (STMs) that service




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service providers and copyright owners to cooperate to detect and deal with copyright
infringements.” 4 Thus, section 512 limits the liability of an OSP only if, among other things, the
OSP “accommodates and does not interfere with standard technical measures.” 5 Congress defined
STMs in section 512(i)(2) as:

         technical measures that are used by copyright owners to identify or protect
         copyrighted works and—(A) have been developed pursuant to a broad consensus
         of copyright owners and service providers in an open, fair, voluntary, multi-
         industry standards process; (B) are available to any person on reasonable and
         nondiscriminatory terms; and (C) do not impose substantial costs on service
         providers or substantial burdens on their systems or networks. 6

        Unfortunately, “Congress’ vision of broad, open, cross-industry standards-setting for the
creation of standard technical measures has not come to pass” and “few widely-available tools
have been created and consistently implemented across the internet ecosystem.” 7 Although
technical measures to protect and identify copyrighted works in user-generated content abound, 8
not all OSPs use them, accommodate them, or apply them equally to the works of all copyright
holders. 9 Some OSPs even interfere with the use of standard web crawling technology to locate
infringing material—thereby limiting copyright holders’ ability to protect their works at scale—
despite the fact that OSPs themselves use web crawling to index content. 10 The reason such
interference is not unlawful under section 512 is that, to date, no technical measures have been
recognized as STMs. 11

         B.       Web Crawling and Content Fingerprinting Meet the STM Definition

        Despite their lack of recognition, technical measures exist today that meet the STM
definition. Web crawling and content fingerprinting are two examples.

        Web crawling doesn’t just enable search engines to create clickable indexes so internet
users can discover and access specific content online. Copyright holders or their agents crawl the


providers would accommodate.”), available at https://digitalfrontiersadvocacy.com/copyright-law-issues/section-
512-safe-harbors/section-512-reform/standard-technical-measures/6-24-21-tillis-leahy-section-512i-stm-letter/;
SECTION 512 REPORT, supra note 1, at 176 (stating that “[i]nherent in [section 512(i)] is Congress’ primary intent for
the section 512 framework to encourage cooperation between creators and OSPs.”).
     4
       DIGITAL MILLENNIUM COPYRIGHT ACT, H.R. REP. NO. 105-796, at 72 (1998) (Conf. Rep.).
     5
       17 U.S.C. § 512(i)(1), (i)(1)(B).
     6
       Id., § 512(i)(2).
     7
       SECTION 512 REPORT, supra note 1, at 66 n.352, 67.
     8
       See, e.g., id., at 67 n.355, 177 (stating that “[s]takeholders across industries already employ a wide variety of
technological tools to facilitate operations within the section 512 framework for particular types of works, such as
audio or audiovisual works”; pointing to a number of examples, such as Google’s Content ID and Facebook’s Rights
Manager, as well as technologies used by SoundCloud, Twitch, Vimeo, and Verizon Wireless).
     9
       See id., at 42-46; U.S. Copyright Office, In re Technical Measures: Public Consultations, Docket No. 2021–10,
Notification of Inquiry, 86 Fed. Reg. 72,638, 72,639. (Dec. 22, 2021).
     10
        See SECTION 512 REPORT, supra note 1, at 177 n.946.
     11
        See id., at 67, 95 n.501.




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web to discover infringing uses of copyrighted works. The copyright holders can then decide
whether to try to license the works to the user or stop the infringing use. Protocols for the design
and use of crawling have developed pursuant to consensus- and standards-based processes
throughout the private sector, academia, and organizations such as the Internet Engineering Task
Force. 12 Anyone can build a web crawler, and companies such as Pex make crawling available to
copyright holders and OSPs on reasonable and nondiscriminatory terms for purposes of
discovering copyrighted works. 13 The internet community has created conventions to ensure
crawling does not impose burdensome costs or unreasonable congestion on web sites that are being
crawled. 14

        Content fingerprinting also meets the section 512(i)(2) definition. Fingerprinting is often
discussed in the video or audio context, 15 but photography, art, and text can be identified online
through similar methods. Although consumers sometimes use fingerprinting merely to identify
content—for example by launching the Shazam application to determine the title and artist of a
song playing in a bar, restaurant, or on television 16—companies such as Pex employ fingerprinting
to also help protect, attribute, and license copyrighted works. Pex does so by comparing material
that someone has uploaded to the internet (or is in the process of uploading) against fingerprint
data of copyright holders’ works. 17 A match triggers further investigation to determine if the
upload was (or would be) lawful, and to potentially lead to a licensing agreement where
necessary. 18 As with web crawling, content fingerprinting methods are in wide use 19 and have
evolved through consensus-based processes by the private sector, academia, and standards
bodies—for example in the world of trust and safety, where such methods are used regularly. 20


     12
        See, for example, CHRISTOPHER D. MANNING ET AL., INTRODUCTION TO INFORMATION RETRIEVAL ch. 20
(online ed. 2009), https://nlp.stanford.edu/IR-book/pdf/irbookonlinereading.pdf, and WIKIPEDIA, “Web crawler,”
https://en.wikipedia.org/wiki/Web_crawler (last viewed May 6, 2022), along with the sources cited within each.
     13
        See U.S. Copyright Office, In re Technical Measures: Public Consultations, Docket No. 2021–10, Comments
of Pex, at 1, 4-7 (Feb. 8, 2022), https://www.regulations.gov/comment/COLC-2021-0009-5371.
     14
        See, e.g., WIKIPEDIA, “Sitemaps,” https://en.wikipedia.org/wiki/Sitemaps (last viewed May 9, 2022);
INTERNET ENGINEERING TASK FORCE, NETWORK WORKING GROUP, ROBOTS EXCLUSION PROTOCOL, DRAFT-
KOSTER-REP-08 (work in progress May 5, 2022), https://datatracker.ietf.org/doc/html/draft-koster-rep.
     15
        See, e.g., WIKIPEDIA, “Digital video fingerprinting,”
https://en.wikipedia.org/wiki/Digital_video_fingerprinting (last viewed May 9, 2022); id. “Acoustic fingerprint,”
https://en.wikipedia.org/wiki/Acoustic_fingerprint (last visited May 9, 2022).
     16
        See https://www.shazam.com/home (last visited May 15, 2022).
     17
        See https://pex.com (last visited May 17, 2022).
     18
        See SECTION 512 REPORT, supra note 1, at 177-78.
     19
        See, e.g., id., at 43 n.218, 54 n.283, 365 n.71, 177 (quoting comments of c3 and the Intellectual Property
Owners Association for the propositions that “YouTube’s Content ID system now enables rights holders to limit
infringing files, which are technologically matched via fingerprint-based content recognition technology, from being
made available via YouTube”; noting that “German company ivitec has developed market-ready video
fingerprinting and automatic content recognition software solutions”; recognizing “that the availability of third-party
services like Audible Magic, which offer digital fingerprinting solutions as a service for OSPs, could help obviate
the need for new entrants to develop their own in-house equivalent of Content ID”; observing that companies such
as Facebook, SoundCloud, Twitch, Vimeo, and Verizon Wireless use fingerprinting).
     20
        See, e.g., OLIVER HELLMUTH ET AL., AUDIO ENGINEERING SOCIETY, CONVENTION PAPER 5961, USING MPEG-
7 AUDIO FINGERPRINTING IN REAL-WORLD APPLICATIONS (2003), https://www.aes.org/e-
lib/browse.cfm?elib=12342; INTERNATIONAL ORGANIZATION FOR STANDARDIZATION, ISO/IEC TR 21000-




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Companies like Pex offer fingerprinting services on reasonable and non-discriminatory terms and
in a manner that is neither cumbersome nor costly. 21

       To the extent web crawling and content fingerprinting are now—or are recognized in the
future to be—STMs, OSPs seeking the benefit of the section 512 liability limitations must
accommodate and not interfere with their use by copyright holders to identify and protect
copyrighted works. 22

         Because section 512(i) requires OSPs not just to refrain from interfering with STMs, but
also to accommodate them, recognizing crawling and fingerprinting as STMs means OSPs seeking
to invoke the liability limitations must: 1) make application programming interfaces available that
allow copyright holders (or their agents) to crawl the OSPs’ sites in search of content that meets
the copyright holders’ fingerprint data; and 2) anticipatorily look for fingerprint-matching content
that OSP users seek to upload or otherwise disseminate on the services, when copyright holders or
their agents enable a means for comparing the user content to the fingerprint data. In each case,
the OSP would then be obligated, as instructed by the copyright holders, to: a) take down or prevent
the initial dissemination of any copyrighted works in the user-generated content, and prevent future
uploads of the copyrighted works; b) enable the copyright holders to seek a license from the user
for the copyrighted works, or itself enter into a license agreement with the copyright holders on
behalf of its users, including possibly sharing any advertising revenue associated with the
copyrighted works in the user-generated content; or c) allow dissemination of the copyrighted
works.

        To avoid interfering with web crawling and content fingerprinting STMs, OSPs would need
to: 1) not make any changes in their services or API’s that would prevent the capabilities discussed
above, or communicate such changes with the STM providers; 2) work with the STM providers to
resolve any problems the changes would cause, and allow the STM providers enough time to
change their own services before the OSPs implement their changes; 3) not impose unreasonable
terms or conditions that would prevent the STM providers from providing the capabilities
discussed above.

         Requiring OSPs to anticipatorily look for copyrighted works in accommodating web
crawling and content fingerprinting STMs does not run afoul of section 512(m). Section 512(m)(1)
does state that “[n]othing in [section 512] shall be construed to condition the applicability of [the
liability limitations in] subsections (a) through (d) on … a service provider monitoring its service
or affirmatively seeking facts indicating infringing activity.” 23 Section 512(m)(1) carves out,


11:2004(en) Information technology—Multimedia framework (MPEG-21)—Part 11: Evaluation Tools for Persistent
Association Technologies, at §§ 1.1, 3.4 (discussing use of the MPEG-21 standard for fingerprinting),
https://www.iso.org/obp/ui/#iso:std:iso-iec:tr:21000:-11:ed-1:v1:en.
     21
        See U.S. Copyright Office, In re Technical Measures: Public Consultations, Docket No. 2021–10, Comments
of Pex, at 1, 4-7 (Feb. 8, 2022), https://www.regulations.gov/comment/COLC-2021-0009-5371.
     22
        See 17 U.S.C. § 512(i)(1), (1)(B) (stating that “[t]he limitations on liability established by this section shall
apply to a service provider only if,” among other things, “the service provider—accommodates and does not
interfere with standard technical measures.”).
     23
        Id., § 512(m), (m)(1).




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however, actions “consistent with a standard technical measure complying with the provisions of
subsection [512](i).” 24 This STM carveout demonstrates Congress’ intent for OSPs to take
proactive steps to prevent even an initial infringement where technologically feasible, not just to
take retroactive steps upon receiving notice from a copyright holder. Similarly, section 512(m)(2)
does state that “[n]othing in [section 512] shall be construed to condition the applicability of [the
liability limitations in] subsections (a) through (d) on … a service provider gaining access to,
removing, or disabling access to material.” 25 But that caveat is limited to “cases in which such
conduct is prohibited by law.” 26 Indeed, as the Copyright Office has observed, courts and skeptics
of copyright enforcement often misconstrue section 512(m), which neither trumps the obligation
of OSPs to take action in response to STMs, actual knowledge, or red flag knowledge, nor
abrogates the willful blindness doctrine. 27

        The requirement to accommodate and not interfere with web crawling and content
fingerprinting as STMs would not mean that the use of either is always lawful in other
circumstances. Even when a technical measure has been recognized as an STM, it is only an STM
when a copyright holder or its agent use the measure to identify and protect copyrighted works. 28
If an entity other than a copyright holder or its agent was using crawling or fingerprinting for that
or any other purpose, section 512(i) would neither authorize or require accommodation by an OSP,
nor prohibit an OSP from interfering. And since section 512(i)(1)(B) only applies to OSPs, it can
neither authorize or require any other entity to use or accommodate crawling or fingerprinting, nor
prohibit the entity from interfering. The lawfulness or unlawfulness of using or interfering with
crawling and fingerprinting for other purposes or by other entities would depend on application of
other law.




    24
        Id., § 512(m)(1).
    25
        Id., § 512(m), (m)(2).
     26
        Id., § 512(m)(2).
     27
        See SECTION 512 REPORT, supra note 1, at 3-4, 26, 106 n.560, 111 n.591, 122, 127 (stating that “courts have
struggled to articulate the appropriate relationship between section 512(m)’s intent to avoid the imposition of a duty
to monitor on OSPs, with section 512(c) and (d)’s knowledge requirements”; that although “courts have adopted a
standard for willful blindness that is modified from the traditional common law standard … in an effort to reconcile
the doctrine with section 512(m), the result may be in some tension with what appears to be Congress’ original
intent”; that “OSPs are not free to ignore infringement of which they have actual or red flag knowledge”; that
section 512(m) “says only that OSPs do not have an affirmative duty to ‘monitor[] its service or affirmatively seek[]
facts indicating infringing activity’ or to access material when to do so would violate another law, such as the
Electronic Communications Privacy Act, but does not say that OSPs may simply ignore information of potential
repeated infringement on their system once obtained”; that “[t]he existence of some obligation to take action to
investigate further upon obtaining evidence of infringement is entirely consistent with legislative history”; that
“Congress … intended … ‘red flags’ to create some limited duty of inquiry for an OSP to determine whether there is
‘objectively obvious’ infringement”; that “[s]uch a limited duty would not contravene section 512(m)’s bar on a
general duty to monitor, but would only be triggered in specific situations by awareness ‘of facts or circumstances
from which infringing activity is apparent’”); and that “[u]sing section 512(m) as the starting point for interpreting
all other parts of section 512 has resulted in a willful blindness standard that is difficult to square with Congress’
original intent.”).
     28
        See 17 U.S.C. § 512(i)(2) (limiting the definition of STMs to “technical measures that,” among other things,
“are used by copyright owners to identify or protect copyrighted works.”).




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        The Ninth Circuit’s recent web-crawling related decision in hiQ Labs v. LinkedIn does not
hold otherwise, as it was not a final decision on the merits of web crawling’s legality. Rather, it
upheld a lower court order that preliminarily enjoins LinkedIn from blocking HiQ’s crawling of
LinkedIn users’ public profiles pending resolution of a dispute between the companies. 29 The
Ninth Circuit upheld the preliminary injunction only on the the grounds “that hiQ has raised serious
questions about whether LinkedIn may invoke the Computer Fraud and Abuse Act (“CFAA”) to
preempt hiQ’s possibly meritorious tortious interference claim,” and because hiQ also met the
other requirements for a preliminary injunction. 30

        Thus, depending on the circumstances, including even in the hiQ case, web crawling when
not being used as an STM still may or may not be found to violate the Computer Fraud and Abuse
Act, the Copyright Act, or other law. 31 That does not change the fact, however, that OSPs must
accommodate and not interfere with crawling if and when used by copyright holders as an STM,
if they wish the benefit of section 512’s liability limitations.

        Nor would using web crawling and content fingerprinting as STMs break the internet,
invade users’ privacy, or lead to a rash of “false positives.” Crawling and fingerprinting are already
in widespread use, including by Google and Facebook, as discussed above, and the internet
continues to function. OSPs are certainly allowed to have and enforce terms of service that prohibit
their users from engaging in unlawful activity, including unlawful use of copyrighted content, and
disclosure of those terms of service would help inform users and mitigate privacy concerns. In
addition, Congressional testimony indicates that false positives are rare. 32 Moreover, dispute
resolution processes such as those offered by Pex provide additional assurances that all parties’
rights will be respected and that erroneous decisions will be minimized. 33 Companies such as Pex



    29
        See hiQ Labs v. LinkedIn, No. 17-16783 (9th Cir. Apr. 18, 2022),
https://cdn.ca9.uscourts.gov/datastore/opinions/2022/04/18/17-16783.pdf.
     30
        See id., slip. op. at 7, 14-43.
     31
        See id., slip. op. at 20 (stating that the court was expressing no opinion as to claims other than those of hiQ
under intentional interference with contract or unfair competition, and those of LinkedIn under the Computer Fraud
and Abuse Act; that as to hiQ and LinkedIn’s interference with contract, unfair competition, and CFAA claims it
was only expressing an opinion on likely (not ultimate) meritoriousness; and that it was not addressing claims under
the Digital Millennium Copyright Act, or the trespass and misappropriation doctrines).
     32
        See The Role of Private Agreements and Existing Technology in Curbing Online Piracy: Hearing Before the
Subcomm. on Intell. Prop. of the S. Comm. on the Judiciary, 116th Cong., Written Testimony of Katherine Oyama, at
9 (Dec. 15, 2020) (Oyama Testimony) (indicating that uploaders disputed less than one percent of the Content ID
claims made on YouTube from January through June 2020 and that only slightly more than half of those disputes
were resolved in the uploaders favor, suggesting an initial takedown error rate of approximately one-half percent,
but then resulting in reposting of the content),
https://www.judiciary.senate.gov/imo/media/doc/Oyama%20Testimony.pdf.
     33
        See U.S. Copyright Office, In re Technical Measures: Public Consultations, Docket No. 2021–10, Comments
of Pex, at 5-6 (Feb. 8, 2022) (explaining that when Pex informs an OSP that a copyright holder wishes to prevent
upload of user-generated content, the user may dispute that the content use would infringe copyright, arguing for
example that it constitutes a fair use; that the copyright holder and the user can then agree to have the claim sent to
an expert identified by organizations such as the World Intellectual Property Organization for human review; and
that the expert provides a non-binding opinion of whether a court is likely to find the use infringing, which will give
parties a sense of whether they are likely to prevail, helping them make a cost-benefit analysis of whether to accept




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also make crawling and fingerprinting available to companies that do not have the resources to
provide it themselves, ensuring all OSPs can comply with the obligation to accommodate the
STMs.

        Some OSPs and copyright opponents argue that the STM provision amounts to a
technology mandate. But OSPs can’t ignore the accommodation requirement of the statute just
because they dislike the concept of STMs, which Congress adopted as a central part of the section
512 balance. The criticism is also inaccurate. OSPs can choose not to accommodate STMs if they
don’t want to accept the liability limitation bargain. Congress could also ameliorate concerns by
clarifying that technical measures are categories of content protection methods—such as
fingerprinting or watermarking—not specific entities’ particular technological implementations of
those methods, as Pex suggests below in Part I.D. and in response to Question 2.

        C.       No Technical Measures Have Been Recognized as STMs Because Misapplication
                 of the Section 512 Liability Limitations Disincentivizes OSP Cooperation, Because
                 Section 512(i)(2)’s Criteria for Qualifying Technical Measures as STMs are
                 Ambiguous, and Because Section 512(i)(2) Does Not Designate a Decisionmaker
                 or Create an Action-Forcing Mechanism

        One reason why no technical measures have been recognized as STMs is that OSPs have a
disincentive to see that happen. Overbroad judicial application of the section 512 liability
limitations enables OSPs to safely profit from user engagement with copyright-infringing
content. 34 From such a perspective, OSPs do better in the absence of STMs so that they can
continue to generate revenue until copyright holders discover infringing use themselves and send
a takedown notice. That limits the widespread adoption of powerful content identification and
protection technology.

         Other problems include section 512(i)(2)’s ambiguity regarding the criteria for qualifying
a technical measure as an STM, its silence regarding who rules whether a solution meets the
criteria, and its lack of any action-forcing mechanism to drive a ruling. How many copyright
holders and service providers must agree to constitute broad consensus? Must they represent every
type of copyright holder and OSP or is a consensus among subsets sufficient? What constitutes an
open, fair, voluntary, multi-industry standards process? Must it be run by a formal standards body?
For a technical measure to be available on reasonable and non-discriminatory terms, must the terms
of service be identical for everyone or can technical measure providers, OSPs, and copyright
owners negotiate different terms? Can the terms change going forward, either for existing or new
users of the STM? Do the “substantiality of costs and burdens” analyses vary by the size of the
OSP and the amount of infringing use of copyrighted works on the service? Who answers these
questions?

       OSPs’ disincentive, combined with the ambiguous criteria, the silence regarding the
decisionmaker, and the lack of action-forcing mechanism in section 512(i)(2), mean OSPs can and


the original result or continue the dispute outside of Pex’s system), https://www.regulations.gov/comment/COLC-
2021-0009-5371.
     34
        See SECTION 512 REPORT, supra note 1, at 81-82. See also answer to Question 2 at footnotes 35 to 39 and
accompanying text.


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do read the STM accommodation requirement out of the statute by frustrating the development
and recognition of STMs or simply opting out of the process.

       D.     Congress Should Promote Implementation of STMs by Fixing Application of the
              Liability Limitations, Clarifying the STM Qualifications, and Authorizing the
              Copyright Office to Recognize STMs in Response to Petitions

        To promote implementation of STMs, Pex recommends Congress take the following
actions, as discussed in more detail below in response to the questions.

•      Restore the OSP incentives by: 1) clarifying the red flag knowledge and willful blindness
       standards; 2) creating a notice and staydown requirement; and 3) conditioning OSPs’
       liability limitations on taking reasonable steps to prevent infringing dissemination of
       copyrighted works in the first place.

•      Resolve the ambiguities in the STM criteria by providing that:

       o      a standard technical measure is an overall category of copyright protection method,
              such as fingerprinting or watermarking, not a particular technological
              implementation of that method;

       o      section 512(i)(2)(A) no longer requires “a “broad consensus of copyright owners
              and service providers” or the process to be “multi-industry,” but still requires the
              process to be “open, fair, and voluntary”;

       o      the “open, fair, and voluntary process” analysis applies to the way a technical
              measure was developed, not to the recognition of a technical measure as an STM;

       o      a process is “open, fair, and voluntary” if those entities that would be affected by a
              technical measure and have relevant expertise were afforded an opportunity to be
              represented and have their views heard;

       o      the standards process by which the technical measure was developed can be formal
              or informal;

       o      for a technical measure to be available on reasonable and non-discriminatory terms,
              the terms of availability need not be identical for all OSPs, but can vary based on
              factors such as market forces, the size of the OSP, and the use case;

       o      the substantiality of the costs and burdens are to be evaluated taking into account
              whether they would be proportional to: the size and resources of OSPs; the amount
              of revenues the OSPs generate from copyrighted works in user-generated content;
              the potential quantity of infringement and amount of harm to copyright holders that
              would be avoided; the costs and burdens imposed on copyright holders in the
              absence of recognition of the technical measure as an STM; and any savings in
              costs or burdens to the OSPs that would result from recognition of the technical
              measure as an STM (such as in a reduced amount of notices and takedowns that



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               must be processed, or the increased availability of the technical measure in the
               marketplace); and

       o       a technical measure can be recognized as an STM for subsets of content, subsets of
               copyright holders, and subsets of OSPs.

•      Resolve section 512(i)(2)’s silence regarding who determines whether a technical measure
       meets the STM criteria, and its lack of any action-forcing mechanism, by authorizing the
       Copyright Office to recognize technical measures as STMs in response to petitions, while
       continuing to allow segments of industry to come together to recognize a technical measure
       as an STM through a voluntary process.

         Ultimately, these changes would restore Congress’ intended section 512 balance and be
good for everyone. Copyright holders large and small would be better positioned to protect their
works and to license them for OSP subscribers’ use, thereby creating new revenue streams and
ensuring fair remuneration. New and smaller OSPs could economically reduce risk of copyright
liability while providing more content for their subscribers’ authorized use. OSPs wouldn’t need
to take down as much content—reducing the burden of notice and takedown for all parties—and
could increase their advertising or other revenue. OSP users would gain access to additional
copyrighted works and—copyright holder permitting—have greater opportunities to lawfully
incorporate those works into content they create on the online service. In addition, OSP users
would have a simpler way of protecting their own copyrights in the user-generated content they
create.

        Broad adoption of STMs could also spawn a variety of applications and services. Better
identification of copyrighted works, for example, might help create more accurate commercial
databases of ownership and license rights. That, in turn, might improve copyright protection,
registration, licensing, recordation, and dispute resolution. The same technologies would also help
related efforts by the private sector and internet safety groups to identify and moderate other
unlawful behavior online, and assist authorities in law enforcement efforts. Pex is working with
these organizations today to facilitate such efforts.

II.    Responses to Questions

       A.      Questions About Existing Technologies as STMs

               Q1.    Are there existing technologies that meet the current statutory definition of
                      STMs in section 512(i)? If yes, please identify. If no, what aspects of the
                      statutory definition do existing technologies fail to meet?

        Amending the statute could provide clarity and certainty, but technical measures exist—
such as web crawling and content fingerprinting—that potentially meet the section 512(i) STM
definition today, as discussed above in Part I.B.




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                  Q2.      What has hindered the adoption of existing technologies as STMs? Are
                           there solutions that could address those hindrances?

        The main impediments to recognition of existing technical measures as STMs have been:
1) the disincentive overbroad court application of section 512’s liability limitations has created for
OSPs to discover, protect, attribute, and license copyrighted works their users disseminate on the
services; 2) section 512(i)(2)’s ambiguity regarding the qualifications for standard technical
measures; and 3) section 512(i)’s absence of a designated decisionmaker and a lack of an action-
forcing mechanism.

         Unless the Copyright Office’s current consultations on voluntary identification and
implementation of technical measures 35 result in a breakthrough, Congress will likely need to
revise section 512 in three ways to help achieve the collaboration around technical measures it
intended section 512 to promote. 36 First, Congress should amend the section 512 liability
limitations to ensure the limitations are meeting Congress’ objectives, including by correcting
courts’ overbroad interpretations. Second, it should revise section 512(i)(2)’s criteria for
recognizing technical measures as STMs. Third, Congress should supplement the current voluntary
process by authorizing the Copyright Office to recognize technical measures as STMs in response
to petitions. These revisions could accomplish the balance Congress sought to create with section
512—a balance that the Copyright Office’s 2020 section 512 report concludes “has been tilted
askew.” 37

The Disincentive to Discover, Protect, Attribute, and License Copyrighted Works: Courts’
overbroad application of the liability limitations in section 512 enable OSPs to safely profit from
their users’ unlawful dissemination of copyrighted works on the services. Indeed, courts have
erroneously applied section 512 in a way that suggests OSPs: 1) need not seek to prevent their
users’ initial, infringing posts or other dissemination of copyrighted works on the service; 38 2) nor
search for or remove unauthorized, copyrighted works their users have already disseminated on
the services, until the copyright holders have discovered the works and requested the OSPs take
them down. 39


     35
        See U.S. Copyright Office, In re Technical Measures: Public Consultations, Docket No. 2021–10, Notification
of Inquiry, 86 Fed. Reg. 72,638 (Dec. 22, 2021).
     36
        See SECTION 512 REPORT, supra note 1, at 66 (stating that “Congress envisioned a system where content
owners and ISPs would continue to work together to develop new technologies and best practices for addressing
infringement on the internet, rather than creating a static system that locked in place the anti-piracy toolkit of the
1990s.”).
     37
        Id., at 1.
     38
        See supra note 27.
     39
        See, e.g., SECTION 512 REPORT, supra note 1, at 111-12 n. 591, 113 (stating that UMG Recordings, Inc. v.
Shelter Capital Partners LLC, 718 F.3d 1006 (9th Cir. 2013), erroneously suggests that section 512(m) “not only
protects OSPs from being subject to an affirmative monitoring obligation, but also protects them from having any
duty to act upon evidence of infringement of which they become aware, absent receipt of a takedown notice”; that
“Congress intended OSPs to have an obligation to act upon information regarding infringing activity even in the
absence of a takedown notice under some circumstances”; and that “a takedown notice is not a prerequisite for an
ISP to obtain either actual or red flag knowledge,” and thus have an obligation to act to remain within the safe
harbors) (citing DIGITAL MILLENNIUM COPYRIGHT ACT, H.R. REP. NO. 105-551, PART 2, at 26 (1998) (stating that




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        As a result, infringing use of copyrighted works can generate revenues for OSPs and
users—such as through advertising connected with user posts—until a copyright holder discovers
the infringing use, the copyright holder asks the OSP to take the content down, and the OSP does
so. Because technology makes user-generated content quickly and widely available, and readily
subject to further dissemination by others, the ill-gotten gains the user and OSP generate from the
infringing use of the copyrighted works, and the harm to the copyright holder, can be substantial.

        The OSPs are in a better position than users and copyright holders to help initially discover,
protect, attribute, and license copyrighted works included in user-generated content. A user may
not even realize that incorporation and dissemination of the copyrighted work into his or her post
requires a license. The OSPs are also likely larger and better resourced than their users. They may
even be larger and better resourced than the copyright holders. In addition, the OSPs are more
likely than users to have or develop copyright expertise. And the OSPs have more control than
users or copyright holders over the content, mechanisms, and safeguards on the services.

        Copyright holders of course have a role to play. For example, copyright holders wishing to
use crawling and fingerprinting to discover, protect, and attribute their content will enable a way,
such as through Pex, to compare user-generated content to the fingerprint reference files for their
copyrighted works. 40 But because OSPs intermediate between users and copyright holders—often
at mass scale—OSPs are at the tip of the spear when it comes to identifying and combatting
infringing use of copyrighted works.

       When an OSP helps discover, protect, attribute, and license copyrighted works in user-
generated content, however, some of any revenue the user and OSP generate goes to the copyright
holders. The OSPs may therefore view recognition of standard technical measures as increasing
costs and reducing revenues, and thus prefer to wait until copyright holders discover infringing
use and send a takedown notice, rather than recognize STMs and be required to accommodate
them. Consequently, section 512 as currently applied by the courts disincentivizes OSPs from
recognizing technical measures as STMs.

        Some OSPs do incorporate technical measures to proactively help discover, protect,
attribute, and license copyrighted works. When they do so, however, they often use their own
solutions. That makes it hard for copyright holders to determine how much infringing use of


although section 512 “‘shall not be construed to condition the limitation [on liability] on monitoring a network for
infringement or searching out suspicious information[, o]nce one becomes aware of such information, … one may
have an obligation to check further’”); id. at 54 (stating that “a service provider wishing to benefit from the
limitation on liability under new subsection (c) must ‘take down’ or disable access to infringing material residing on
its system or network in cases where it has actual knowledge or that the criteria for the ‘red flag’ test are met—even
if the copyright owner or its agent does not notify it of a claimed infringement”); DIGITAL MILLENNIUM COPYRIGHT
ACT, S. REP. NO. 105-190, at 45 (1998) (stating that “‘[a] service provider wishing to benefit from the limitation on
liability under subsection (c) must ‘take down’ or disable access to infringing material residing on its system or
network of which it [has or should have knowledge] even if the copyright owner or its agent does not notify it of a
claimed infringement.’”)).
     40
        See SECTION 512 REPORT, supra note 1, at 178 (observing that successful fingerprinting depends on a robust
set of fingerprint files).




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copyrighted works slips through, and puts copyright holders in a “take it or leave it” situation. If
they complain about the efficacy of the OSP technical measures or the terms under which the OSPs
make the measures available, the copyright holders may lose what benefit the measures do provide.
Moreover, OSPs that do proactively use their own technical measures often do not employ them
universally. For example, some refuse to use them for the works of smaller copyright holders, as
the Copyright Office has observed. 41

Ambiguity of Section 512(i)(2): To qualify as an STM, a technical measure must have: 1) been
“developed pursuant to a broad consensus of copyright owners and service providers”; 2) been
developed through “an open, fair, voluntary, multi-industry standards process”; 3) be “available to
any person on reasonable and nondiscriminatory terms”; and 4) “not impose substantial costs on
service providers or substantial burdens on their systems or networks.” 42 These provisions leave
too much room for interpretation, as discussed above.

        Statutory provisions always require interpretation, of course. But section 512(i) does not
indicate who does the interpreting. Is it left to copyright holders and OSPs? Can the Copyright
Office make a determination? At a minimum, it would seem a party could ask a court to determine
if a technical measure qualifies as an STM under section 512(i)(2) as part of a ruling on whether
an OSP has lost its liability limitations by violating the section 512(i)(1)(B) requirement to
accommodate and not interfere with STMs. But if that is the only option, it is a slow, piecemeal,
expensive, and inefficient way to identify and implement STMs.

         Lack of Action-Forcing Mechanism: Section 512(i) also provides no action-forcing
mechanism. This is problematic considering OSPs’ disincentive to see a technical measure
recognized as an STM. By preventing recognition of STMs, OSPs can read section 512(i)(1)(B)
out of the statute. That guts Congress’ intent behind section 512, which was to grant OSPs the
liability limitations only if they collaborated with copyright holders to curb infringing use of
copyrighted works, including through the recognition of STMs.

Solutions

Ensuring the Section 512 Liability Limitations Operate as Congress Intended. Righting application
of the section 512 liability limitations might better incentivize OSPs’ to recognize technical
measures as STMs, consistent with Congress’s objectives. Congress could accomplish this by
clarifying the red flag knowledge and willful blindness standards; creating a notice and staydown


    41
        See id., at 42-46, 67 (surveying technical measures and stating that “more than twenty years after passage of
the DMCA, although some individual OSPs have deployed DMCA+ systems that are primarily open to larger
content owners, not a single technology has been designated a ‘standard technical measure’” and “few widely-
available tools have been created and consistently implemented across the internet ecosystem”); Justin Sanders,
YouTube’s Content ID is Great Copyright Protection But Not for Those Who Need it Most (Which is Most of Us),
CREATIVEFUTURE, Aug. 14, 2019 (discussing YouTube’s refusal to make Content ID available to smaller copyright
holders), https://www.creativefuture.org/youtube-content-id/. See also SECTION 512 REPORT, supra, at 179 (stating
that “[t]he Office believes that one of the goals of section 512(i) and STMs is to develop big tools for small
creators.”).
     42
        See 17 U.S.C. § 512(i)(2).




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requirement; and conditioning OSPs’ liability limitations on taking reasonable steps to prevent
infringing dissemination of copyrighted works in the first place. 43

       Even short of a notice from a copyright holder or other actual knowledge of infringing
content, Congress intended OSPs to take action in the presence of “red flag knowledge,” which is
awareness of “facts or circumstances” that would make “infringing activity … apparent to a
reasonable person operating under the same or similar circumstances.” 44 Yet, as the Copyright
Office has explained:

         the current interpretations of red flag knowledge [] effectively remov[e] the
         standard from the statute in some cases, while carving an exceptionally narrow path
         in others that almost requires a user to ‘fess up’ before the OSP will have a duty to
         act. … [C]ourts have set too high a bar for red flag knowledge, leaving an
         exceptionally narrow space for facts or circumstances that do not qualify as actual
         knowledge but will still spur an OSP to act expeditiously to remove infringing
         content. … Such a narrow interpretation of red flag knowledge … protects activities
         that Congress did not intend to protect. The end result is a shift in the balance that
         Congress originally struck.” 45

      Courts have also misapplied the willful blindness standard. Again, according to the
Copyright Office:

         courts have adopted a standard for willful blindness that is modified from the
         traditional common law standard and requires that the willful blindness involve
         deliberate avoidance of specific incidences of infringement, rather than avoidance
         of acts of infringement generally. While courts have reached this conclusion in an
         effort to reconcile the doctrine with section 512(m), the result may be in some
         tension with what appears to be Congress’ original intent. 46

Going further, the Office said the judicial interpretation “that willful blindness may be
imputed to an OSP only if they have evidence of a specific incidence of infringement
occurring at a specific URL [ ] is unsupported by either the text of section 512 or the
contours of the common law standard for willful blindness.” 47




    43
        See, e.g., SECTION 512 REPORT, supra note 1, at 184 (noting that “[i]n one rightsholder’s view, it is
particularly unfair for large OSPs whose ‘business model is predicated on monetizing user-generated content (not
vetted for copyright),’ to place the burden of identifying infringements on the rightsholder, arguing instead that such
‘OSP[s] should be required, by law, to implement some form of digital fingerprinting to prevent infringing material
from being uploaded in the first place.’”).
     44
        DIGITAL MILLENNIUM COPYRIGHT ACT, S. REP. NO. 105-190, at 44 (1998); DIGITAL MILLENNIUM COPYRIGHT
ACT, H.R. REP. NO. 105-551, PART 2, at 53 (1998).
     45
        SECTION 512 REPORT, supra note 1, at 123.
     46
        Id., at 3.
     47
        Id., at 127.




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        Establishing a notice-and-staydown system could help address the Copyright Office’s
observation that “the notice-and-takedown system does not effectively remove infringing content
from the internet; it is, at best, a game of whack-a-mole.” 48 The speed with which a removed piece
of infringing content reappears has made notice-and-takedown little more than a costly, time-
consuming, and fruitless administrative process. No matter how many notices copyright holders
send and how many times OSPs take the content down, an ocean of identical infringing copies
continues to fill the bottomless cup. The answer is establishing a notice-and-staydown process, by
which “notice from a rightsholder generally triggers a duty for the service provider to proactively
identify and remove all instances of the infringing content and prevent future uploads,” such as
through the use of fingerprinting. 49

        By the same token, Congress should condition OSPs’ liability limitations on taking
reasonable steps to prevent infringing dissemination of copyrighted works in the first place.
Because of the size of today’s online services, one infringing upload at one location is quickly
consumed by a wide audience. Moreover, the speed and breadth of today’s internet means one
infringing copy at one online location quickly becomes many infringing copies at many online
locations, exponentially exacerbating the infringement. Thus, by time a notice and takedown occur
for the initial infringing use, the damage has already been done.

       Fixing application of the red flag knowledge and willful blindness standards, creating a
notice and staydown requirement, and conditioning OSPs’ liability limitations on taking
reasonable steps to prevent infringing dissemination of copyrighted works in the first place would
encourage OSPs to take a more proactive role, consistent with Congress’s objective. 50 In addition,
doing so would also appropriately give OSPs a greater incentive to help develop a marketplace of
STMs to meet their obligations and qualify for the liability limitations, as Congress also intended.51

        There is a chance, nonetheless, that OSPs would still rather avoid the section 512(i)
obligation to accommodate and not interfere with the technical measures of others, preferring
instead to rely voluntarily and exclusively on technical measures they control. Restoring the
section 512 liability limitations to their intended scope would thus be helpful, but not sufficient, in
encouraging OSP to recognize technical measures as STMs.




    48
        Id., at 33.
    49
        Id.
     50
        Id., at 8 (stating that “[i]n exchange for cooperating with copyright owners to expeditiously remove infringing
content, OSPs received a series of limitations on copyright liability under section 512—referred to as ‘safe
harbors’—so long as they met certain conditions.”).
     51
        See Letter from Sens. Thom Tillis and Patrick Leahy to Shira Perlmutter, Register of Copyrights, U.S.
Copyright Office 1 (June 24, 2021) (stating that “[w]hen Congress set up the safe harbors for OSPs over twenty
years ago, it envisioned industry working together to identify standard technical measures (STMs) that service
providers would accommodate.”), available at https://digitalfrontiersadvocacy.com/copyright-law-issues/section-
512-safe-harbors/section-512-reform/standard-technical-measures/6-24-21-tillis-leahy-section-512i-stm-letter/;
SECTION 512 REPORT, supra note 1, at 176 (stating that “[i]nherent in [section 512(i)] is Congress’ primary intent for
the section 512 framework to encourage cooperation between creators and OSPs.”).




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Amending Section 512(i). To truly promote the recognition of technical measures as STMs,
Congress should add more specificity to section 512(i) and create an action-forcing mechanism.
Many of the ideas discussed here and in response to the succeeding questions can also be found in
the SMART Copyright Act, introduced by Sens. Tillis and Leahy. 52

      First, Congress should authorize the Copyright Office to recognize technical measures as
STMs in response to a petition, 53 as described in more detail in answers to the questions below.
That would address the current lack of an action-forcing event.

        The Copyright Office process should be in addition to, rather than in lieu of, the existing
process, however. A voluntary process for recognizing STMs has certain advantages. It can
potentially be more flexible, for example, and more easily incorporate multiple rounds of
negotiation and compromise. A voluntarily recognized STM may receive more community buy-
in. The possibility for the Copyright Office to grant or deny STM petitions may also create an
added incentive for OSPs to voluntarily recognize technical measures as STMs, because they
would potentially have more input and control over the process, as well as over the implementation
of the recognized STM. The voluntary process may also reduce the workload for the Copyright
Office process, or at least help develop a record should the voluntary process stall and require
resolution by the Copyright Office.

       Second, to make the voluntary and Copyright Office recognition processes work, Congress
should resolve the ambiguities in the criteria for recognizing a technical measure as an STM by
codifying the following determinations.

•        A standard technical measure is an overall category of copyright protection method—such
         as fingerprinting or watermarking—not a particular STM provider’s specific technological
         implementation of that method. Such a clarification would ameliorate concerns about
         technology mandates and also spur a competitive market for solutions implementing
         individual STMs, providing more choices for copyright holders and OSPs.

•        Section 512(i)(2)(A) no longer requires “a “broad consensus of copyright owners and
         service providers” or the process to be “multi-industry,” 54 but still requires the process to
         be “open, fair, and voluntary.” The “broad consensus” requirement is unworkable, is the
         reason no STMs have been recognized, and is unnecessary. The “multi-industry”
         requirement does not make sense, since a particular STM may be relevant to only a single
         industry. So long as the “open, fair, and voluntary” requirement still applies, everyone’s
         interests will be protected.

•        The “open, fair, and voluntary” requirement applies to the way a technical measure was
         developed, not to the determination that a technical measure is an STM. This can be seen


    52
        See the Strengthening Measures to Advance Rights Technologies Copyright Act of 2022, S. 3880, 117th Cong.
    53
        See SECTION 512 REPORT, supra note 1, at 179 (stating that “Congress may also wish to provide the Copyright
Office with regulatory authority to oversee the development of STMs.”).
     54
        Cf. id., at 179 (stating that “Congress may want to amend the provision to broaden the language so as to avoid
any perceived requirement that measures must be achieved only by the consensus of every industry involved in the
digital ecosystem.”).


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         from the language of section 512(i)(2)(A), in which “open, fair, and voluntary” is used to
         describe the manner in which a technical measure must have been developed to meet the
         STM definition.

•        A process is “open, fair, and voluntary” if those entities that would be affected by a
         technical measure and have relevant expertise were afforded an opportunity to be
         represented and have their views heard. This ensures that the interests of stakeholders are
         protected while keeping the process manageable.

•        For a technical measure to be available on reasonable and non-discriminatory terms, the
         terms of availability need not be identical for all OSPs, but can vary across and even within
         technical measure providers over time, based on factors such as market forces, the size of
         the OSP, and the use case. This interpretation would ensure the market for STMs is viable,
         as well as promote competition in the provision of STMs.

•        The substantiality of the costs and burdens are to be evaluated taking into account whether
         they would be proportional to: the size and resources of OSPs; the amount of revenues the
         OSPs generate from copyrighted works in user-generated content; the potential quantity of
         infringement and amount of harm to copyright holders avoided; the costs and burdens
         imposed on copyright holders in the absence of recognition of the technical measure as an
         STM; and any savings in costs or burdens to the OSPs that would result from recognition
         of the technical measure as an STM (such as in a reduced amount of notices and takedowns
         that must be processed, or the increased availability of the technical measure in the
         marketplace). This reflects the fact that the accommodation and non-interference
         obligations were meant to help strike the balance between minimizing OSP costs by
         mitigating litigation risk, and minimizing copyright holder costs by mitigating online
         infringement. 55 If it turns out later that accommodating and not interfering with an STM
         would unduly burden a particular OSP, the OSP could seek a waiver from the Copyright
         Office in the petition process.

•        A technical measure can be recognized as an STM for subsets of content, subsets of
         copyright holders, and subsets of OSPs. This would recognize that STMs, copyrighted
         works, copyright holders, and OSPs are not one-size-fits-all.

        These clarifications are necessary to avoid bogging down development of STMs and to
ensure no entity can exercise a pocket veto and stop the process by not engaging. The fact that the
Copyright Office would be reviewing petitions for recognition of an STM, as well as any
challenges to an STM recognized in the voluntary process, should allay concerns that these
interpretations would prejudice any stakeholders. The fact that courts could review the Copyright
Office determinations, and could also review the recognition of a technical measure as an STM in
any claim that an OSP violated its section 512(i) accommodation and non-interference obligations,
would provide additional safeguards.




     See DIGITAL MILLENNIUM COPYRIGHT ACT, H.R. REP. NO. 105-796, at 72 (1998) (Conf. Rep.); id., S. REP.
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NO. 105-190, at 8, 20, 40; SECTION 512 REPORT, supra note 1, at 1, 21.


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          B.       Questions About Section 512(i)

                   Q3.      Process Under the Current Statute

                            (a)     Formal Process: Does section 512(i) implicitly require a formal
                                    process for adoption of an STM? If so, what are the requirements
                                    for such a process, and what should such a process entail?

         Although an STM certainly can be adopted through a formal process, in the sense that one
or a set of copyright holders has chosen to use an STM pursuant to a process that has a defined set
of procedural rules, nothing in section 512(i) imposes such a condition. Indeed, the statute is silent
on the process by which STMs are adopted, setting instead criteria for how a technical measure
must have been developed in order to be recognized as an STM.

        And even there, the development process may be informal. Nothing in section 512(i)(2)
imposes any type of formality requirement or demands an “official” standards body, although the
process must be open and fair. 56 To impose a formality requirement would chill development of
STMs. If concerns arise that the informality of the standards process prejudiced the rights of a
stakeholder, that issue could be reviewed by the Copyright Office in the new STM recognition
process. Moreover, although informal standards processes should not be ruled out, the Copyright
Office could create a rebuttable presumption in such reviews that a technical measure developed
by a formal standards body meets the “open, fair, and voluntary” requirements, without extending
that presumption to informal standards processes.

       Whether recognition of a technical measure as an STM can take place through an informal
process is a different matter, which Pex answers in response to the next question.

                            (b)     Informal Process: If the statute does not require a formal process, is
                                    an informal process appropriate or necessary? What type of informal
                                    process would facilitate the identification and adoption of an STM,
                                    and what should such a process entail?

        As discussed above, a technical measure can be recognized as an STM even if adopted
through an informal and unilateral process by a copyright holder, and even if developed through
an informal standards process. Moreover, even the recognition of an STM can be informal, as the
statue is silent as to who determines whether a technical measure meets the qualifications for an
STM and how the evaluation is conducted. The informality of that process is one reason we have
yet to see any technical measures recognized as STMs, which is why Pex supports creation of an
additional STM recognition process at the Copyright Office, as discussed above and in response
to the next question.




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        17 U.S.C. § 512(i)(2)(A).


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                      (c)    Entities: What entity or entities would be best positioned to convene
                             the process, whether formal or informal? What, if anything, is
                             needed to authorize such an entity to convene the process? Is there
                             any role under section 512(i) for third parties, such as regulatory
                             agencies or private standard-setting bodies, to determine whether a
                             particular technology qualifies as an STM? If so, what is the nature
                             of that role? How would the third party determine that a particular
                             technology qualifies as an STM? What would be the effect of such
                             a determination?

       As discussed above, Congress should amend section 512 to create a process by which the
Copyright Office may recognize a technical measure as an STM, which would be in addition to
the voluntary process by which technical measures can currently be recognized as STMs. Third-
party roles would be confined to the formal or informal standards process used to develop
voluntarily recognized or Copyright Office recognized STMs. The Copyright Office process
would be analogous to the current triennial review of exceptions to the section 1201 anti-
circumvention provisions. The process could run on the same or a separate timeline. Under the
new process, entities would be allowed to file a petition arguing that:

•      an existing technical measure should be recognized as an STM;

•      a voluntarily recognized STM does not meet the qualifications of section 512(i); or

•      a previously voluntarily recognized or Copyright Office recognized STM should no longer
       be recognized as one.

                      (d)    Courts: What role, if any, do or should courts play in determining
                             whether a particular technology qualifies as an STM under section
                             512(i)? How would a court determine that a particular technology
                             qualifies as an STM? What would be the effect of such a
                             determination? For example, would such a determination be binding
                             or advisory? Would it bind non-parties or apply outside of the
                             court’s jurisdiction? What would be the effect of pending appeals or
                             inconsistent determinations across jurisdictions?

        A court could hear a challenge to a Copyright Office decision that a technical measure
qualifies to be recognized as an STM. A court could also review a voluntary or Copyright Office
recognition of a technical measure as an STM in the process of reviewing a claim that an OSP has
violated section 512(i) by failing to accommodate or by interfering with a voluntarily recognized
or Copyright Office recognized STM. The court would need to receive evidence from the parties
to determine whether recognition of the technical measure as an STM was valid. It could also
receive input from the Copyright Office. In doing so, the court might grant a rebuttable
presumption that a technical measure is an STM when recognized by the Copyright Office, but not
grant such a presumption when the STM was recognized through the voluntary process. A court
review of a Copyright Office decision recognizing a technical measure as an STM could invalidate
the Copyright Office decision. A court decision on the validity of an STM in the context of a



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complaint that an OSP had violated section 512(i) might be relied upon by the Copyright Office
or other courts in other contexts.

               Q4.    International Organizations: Could technologies developed or used by
                      international organizations or entities become STMs for purposes of section
                      512(i)? If so, through what process?

        Parties could point to the international development or use of a technical measure to
buttress their petitions for the Copyright Office to recognize a technical measure as an STM or
their arguments before a court that an OSP was in violation of section 512(i). The Copyright Office
could also create a rebuttable presumption that a technical measure developed or used abroad meets
some or all of the criteria in section 512(i)(2), for purposes of its review of STM petitions.

               Q5.    Consensus: Under section 512(i)(2)(A), a measure can qualify as an STM
                      if it has been “developed pursuant to a broad consensus of copyright owners
                      and service providers in an open, fair, voluntary, multi-industry standards
                      process.”

                      (a)     What level of agreement constitutes a “broad consensus”?

       As discussed above, the “broad consensus” requirement should be removed.

                      (b)     What groupings qualify as “multi-industry”?

       As discussed above, the “multi-industry” requirement should be removed.

                      (c)     Can the phrase “multi-industry” as used in the statute mean a
                              grouping within a subset of industries? Could such sub-industry
                              divisions adopt separate STMs? What would be appropriate sub-
                              industry divisions?

       As discussed above, the “multi-industry” requirement should be removed. If only a
segment of the copyright industry (e.g., movie, television, music, print, photography) or the OSP
industry (e.g., video platform, music platform, text platform, photo platform) would be affected
by the recognition of the technical measure as an STM, it is sufficient if those segments were
afforded an opportunity to be represented in the development of the technical measure.

               Q6.    Availability

                      (a)     Under section 512(i)(2)(B), an STM must also be “available to any
                              person on reasonable and nondiscriminatory terms.” Is this a
                              threshold requirement for a technology to qualify as an STM or an
                              obligation to make a technology available on reasonable and
                              nondiscriminatory terms once it is designated as an STM?

       The “availability” language creates a threshold requirement for what technical measures
can be recognized as STMs, not an ongoing requirement. Section 512(i)(2) is retrospective, not
prospective. It speaks of “technical measures” that already “are used by copyright owners to


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identify or protect copyrighted works” and already “have been developed.” 57 Moreover, clarifying,
as Pex recommends above, that a technical measure is a category of content protection method,
not a specific entity’s particular technological implementation of that method, means all section
512(i)(2)(B) requires is that all relevant OSP have at least one source for obtaining the technical
measure on reasonable and non-discriminatory terms at the time that the technical measure is
recognized as an STM. Under that approach, section 512(i)(2)(B) does not require the Copyright
Office to ensure that every particular provider of every specific technological implementation of
every STM is making the STM available on reasonable and non-discriminatory terms.

        If, however, a technical measure previously recognized as an STM in the voluntary or
Copyright Office process is no longer available from any STM provider on reasonable and non-
discriminatory terms, and the OSP cannot self-provide the technical measure in a manner that
meets the substantial costs and burdens test, an OSP could petition the Copyright Office to rule
that the technical measure is no longer an STM. When investigating whether technical measures
are available on reasonable and non-discriminatory terms, the Copyright Office should keep
competitively sensitive information confidential.

                             (b)         How has concern over the potential availability and accessibility of
                                         a technology affected the adoption of STMs? What terms would be
                                         reasonable and nondiscriminatory for STMs? In what ways would it
                                         be possible to enforce these terms?

       Pex is not aware of any concerns over the availability and accessibility of the technical
measures it provides: web crawling and content fingerprinting. As discussed above, web crawling
and fingerprinting technologies are widely available. Pex makes its services available under
reasonable and non-discriminatory terms. We assist not only larger, well-established entities, but
also smaller, newer entrants in the marketplace. By working with us, they avoid costly compliance
products and can grow alongside our service.

                    Q7.      Costs and burdens: Under section 512(i)(2)(C), an STM must not “impose
                             substantial costs on service providers or substantial burdens on their
                             systems or networks.” How should the substantiality of costs and burdens
                             on internet service providers be evaluated? Should this evaluation differ
                             based on variations in providers’ sizes and functions?

          See discussion of the “substantial costs and burdens” test in response to Question 2.

                    Q8.      Internet service provider responsibilities: Section 512(i)(1)(B) states that
                             an internet service provider must “accommodate[ ] and [ ] not interfere”
                             with STMs to qualify for the statutory safe harbor. What actions does this
                             standard require service providers to take or to affirmatively avoid taking?
                             Must all internet service providers have the same obligations for every




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        17 U.S.C. § 512(i)(2), (2)(A).


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                           STM? What obstacles might prevent service providers                      from
                           accommodating STMs? What could ameliorate such obstacles?

        Pex offers two technical measures: web crawling and fingerprinting. See supra text
accompanying note 22 for Pex’s view on what the accommodation and non-interference
obligations would require to the extent that web crawling and content fingerprinting are—or are
recognized in the future to be—STMs. Ordinarily, all OSPs would have these same obligations. If
an OSP believes that circumstances prevent it from complying with these obligations, it could
petition the Copyright Office for a waiver.

          C.       Questions About Potential Changes to Section 512

                   Q9.     Definition: How could the existing definition of STMs in section 512 of
                           Title 17 be improved?

          See response to Question 2.

                   Q10.    Obligations: Currently, section 512(i)(1) conditions the safe harbors
                           established in section 512 on an internet service provider accommodating
                           and not interfering with STMs.

                           (a)      Is the loss of the section 512 safe harbors an appropriate remedy for
                                    interfering with or failing to accommodate STMs? If not, what
                                    would be an appropriate remedy?

         Loss of the section 512 safe harbor is an appropriate remedy. Congress’s objective all along
has been to incentivize OSPs to curb copyright infringement online and to collaborate with
copyright holders on STMs. One of Congress’s mechanisms for doing so was to condition OSP’s
liability limitations on their accommodating and not interfering with STMs.

                           (b)      Are there other obligations concerning STMs that ought to be
                                    required of internet service providers?

        Pex believes at this time that the obligations it has described above are both necessary and
sufficient.

                           (c)      What obligations should rightsholders have regarding the use of
                                    STMs?

        The only obligations section 512(i) creates are for OSPs to accommodate and not interfere
with standard technical measures. Copyright holders that wish in a specific instance to use web
crawling and fingerprinting as STMs to discover, protect, attribute, and license a copyrighted work
will choose to enable—either themselves or by a third-party such as Pex—a comparison between
user-generated content and a fingerprint reference file for that copyrighted work. As the Copyright
Office has observed, successful fingerprinting depends on a robust set of fingerprint files. 58


   58
        See SECTION 512 REPORT, supra note 1, at 178.


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              Q11.   Adoption through rulemaking

                     (a)     What role could a rulemaking play in identifying STMs for adoption
                             under 512(i)?

       As discussed above, Pex believes that Congress should authorize a new Copyright Office
STM recognition process. Copyright rulings on STM petitions would provide an action-forcing
mechanism, provide more certainty, and also enable review of decisions in the voluntary process
to recognize or not recognize STMs.

                     (b)     What entity or entities would be best positioned to administer such
                             a rulemaking?

       The Copyright Office is the right entity to administer such rulemakings because of its
copyright expertise, its role in administering the Copyright Act, and its experience with the
analogous section 1201 anti-circumvention triennial review.

                     (c)     What factors should be considered when conducting such a
                             rulemaking, and how should they be weighted?

        In conducting such rulemakings, the Copyright Office should focus on (in order of
priority): 1) restoring the section 512 balance Congress sought to establish to encourage
collaboration between copyright holders and OSPs in curbing online infringement of copyrighted
works; 2) promoting recognition and implementation of STMs; and 3) administrative efficiency.

                     (d)     What should be the frequency of such a rulemaking?

       Pex recommends that the Copyright Office accept petitions in the new STM recognition
process once every three years, akin to the triennial review process.

                     (e)     What would be the benefits of such a rulemaking? What would be
                             the drawbacks of such a rulemaking?

      Such rulemakings could restore the balance Congress intended section 512 to strike,
promote implementation of STMs, and provide certainty.

              Q12.   Alternatives: Are there alternative approaches that could better achieve
                     Congress’s original goals in enacting section 512(i)?

       At the moment, Pex does not have alternative approaches to recommend.

       D.     Other Issues

              Q13.   Please identify and describe any pertinent issues not referenced above that
                     the Copyright Office should consider.

       At the moment, Pex does not have additional issues it wishes to address.




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